UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

GEORGE GUNTER,
Plaintitf

v.

CIVIL ACTION NO. 3:16-CV-30183-MGM

ANTHONY ©, CICERO and
JOHN LOPEZ,
Defendants

 

PLAINTIFF’S MOTION FOR DIRECTED VERDICT
NOW COMES the Plaintiff, George Gunter, by and through counsel. pursuant to Rule
50(a) of the Federal Rules of Civil Procedure and moves that this Honorable Court grant a
directed verdict in favor of the Plaintiff on Count I (Unlawful Seizure and Arrest - 42 U.S.C. §&§
1983 and 1988} and Count I] (Unlawful Seizure and Arrest - M.G.L. ¢. 12. $$ 11H and 111) of
the Plaintiff's Amended Complaint. As reasons therefor, the Plaintiff states:
1. Based upon the totality of the evidence presented at trial, no reasonable jury would have a
legally sufficient evidentiary basis to find in favor of the Defendants.
A memorandum of law in support hereof is attached hereto and incorporated herein.

Respectfully Submitted. 7»

 
 
 

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Dated: October 30, 2018 By: frit @? :
Peter Alexander Slepchuk, BBO#: 682078
Attorney for the Plaintiff

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CERTIFICATE OF SERVICE
I, Peter Alexander Slepchuk, hereby certify that on this 30th day of October, 2018, I served this

document upon counsel for the Defendants in hand.

 

Dated: October 30, 2018

 

Peter Alexander Slepchuk
